
484 P.2d 844 (1971)
In the matter of Corey Dean Weidner, a Child. STATE of Oregon, Respondent,
v.
Corey Dean WEIDNER, Appellant.
Court of Appeals of Oregon, Department 1.
Argued and Submitted March 15, 1971.
Decided May 6, 1971.
*845 James L. Carney, Asst. Atty. Gen., Salem, for the motion.
William C. Snouffer, Portland, contra.
Before SCHWAB, C.J., and FOLEY and THORNTON, JJ.
Argued and Submitted March 15, 1971, on Respondent's Motion to Dismiss.
FOLEY, Judge.
This matter is now before the court on the state's motion to dismiss the defendant's appeal from an order of the Washington County Circuit Court, Juvenile Department, remanding him to adult court. The defendant was remanded verbally on June 8, 1970, and by written "Amended Order and Disposition" on June 23, 1970. The validity of his remand is the subject of the appeal, notice of which was filed on July 14, 1970. Defendant became 18 on July 24, 1970, and he was indicted on October 2, 1970, by the Multnomah County Grand Jury for illegal sale of narcotics which adult prosecution is presently pending. The state contends that since defendant became 18 shortly after the date of remand, the juvenile court has lost jurisdiction over him and defendant's appeal is moot.
The juvenile court assumed jurisdiction over the defendant in May 1970, while he was under 18. This was in accordance with ORS 419.476(1) which provides that a juvenile court shall have exclusive original jurisdiction in any case involving a person who is under 18 years of age and
"(a) Who has committed an act which is a violation, or which if done by an adult would constitute a violation, of a law or ordinance of the United States or a state, county or city * * *."
Having acquired jurisdiction, the juvenile court had a number of dispositive options such as wardship, protective supervision, commitment to an institution, probation, etc. ORS 419.507 provides as follows:
"A child found to be within the jurisdiction of the court as provided in subsection (1) of ORS 419.476, may be made a ward of the court. Where a child has been found to be within its jurisdiction, the court may:
"(1) Place the child on probation or under protective supervision. * * *
"(2) Subject to ORS 179.473 and 419.509, place the child in the legal custody of a public or private institution or agency authorized to accept the child or, if the child is at least 12 years of age, to the Corrections Division. * * *
"(3) * * * [Involves arrangements for supervision if child permitted to reside in another state.]

*846 "(4) In the circumstances set forth in ORS 419.533, remand the child to the appropriate court handling criminal actions, or to municipal court."
In this case the juvenile court chose remand, albeit erroneously according to defendant.
Where a child is made a ward of the court,[1] specific provision is made for continuance of the wardship until age 21 unless the court takes action pursuant to the following statute to terminate it. ORS 419.531 provides:
"The court's wardship over a child brought before it continues until whichever of the following occurs first:
"(1) The court dismisses the petition concerning the child or remands the case to the appropriate court handling criminal actions, or to municipal court. If the court has wardship of a child based upon a prior petition, remanding the child to the court handling criminal actions, or to municipal court in connection with a subsequent violation of a law or ordinance relating to the use or operation of a motor vehicle does not terminate the wardship, unless the court so orders.
"(2) The court transfers jurisdiction over the child as provided in ORS 419.545 or subsection (2) of ORS 419.549.
"(3) The court by order terminates its wardship.
"(4) A decree of adoption of the child is entered by a court of competent jurisdiction.
"(5) The child becomes 21 years of age."
Furthermore, it appears that the juvenile court's power to retain jurisdiction beyond age 18 was meant to apply more generally. ORS 419.511(1) provides:
"The duration of any disposition made pursuant to subsections (1) to (3) of ORS 419.507 shall be fixed by the court and may be for an indefinite period. However, any placement in the legal custody of the Corrections Division shall be for an indefinite period. The period of any disposition shall not extend beyond the date on which the child becomes 21 years of age."
The state contends that since wardship was not specifically established here, the juvenile court lost jurisdiction when defendant reached the age of 18 on July 24, 1970, thus making this appeal moot. We do not agree. Though the juvenile code is not explicit on this point, it appears that the intent of the framers of the code was that once a juvenile court has established jurisdiction over a child, the court must take affirmative action to dispose of the case  in one of the ways provided by statute  before jurisdiction can terminate. In any event, jurisdiction automatically terminates when the child reaches age 21. ORS 419.511 and 419.531.
We hold the appeal is not moot and the motion to dismiss the appeal is denied.
NOTES
[1]  "III. (§ 7.3) EFFECT OF MAKING CHILD A WARD OF THE COURT

"The court may declare the child to be a ward of the juvenile court. ORS 419.507(1). In general, wardship means that the child is subject to the protective supervision of the court and to its orders made pursuant to that supervision. It also means that, if the court does not appoint a guardian for the child, the powers of a guardian (i.e., the power to make decisions of major legal importance) are exercised by the court as part of its wardship. ORS 419.511 (4).
"It is not mandatory that the child be made a ward of the court. The mandatory wording of the section originally proposed by the Legislative Interim Committee was changed by the Oregon Legislature. Report of the Legislative Interim Committee on Judicial Administration, Part II, Juvenile Law, 19-20, 64 (1959)." Oregon State Bar, Oregon Juvenile Law Handbook (1970).

